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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
   E MAIL: jaygreiner@midtown.net
 5
     ATTORNEY FOR DEFENDANT
 6   ARTURO PENA
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )                CR.-S-08-90-EJG
11                                 )
          PLAINTIFF,               )                STIPULATION AND ORDER
12                                 )                CONTINUING THE STATUS
          v.                       )                CONFERENCE TO
13                                 )                FRIDAY, OCTOBER 1, 2010
     ARTURO PENA, et al,           )
14                                 )
                                   )
15        DEFENDANT.               )
     _______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Ms. Samantha Spangler, and defendant, Arturo Pena, by his counsel, Mr.
19   James R. Greiner, hereby stipulate and agree that the presently scheduled status
20   conference of Friday, July 23 2010, can be vacated and that a new Status Conference
21   can be set for Friday, October 1, 2010, at 10:00 a.m., before the Honorable District
22   Court Judge, Edward J. Garcia.
23         The Court’s courtroom deputy, Ms. Colleen Lydon, was consulted to check
24   that the Court was available on the above date and the Court is available.
25         The parties stipulate and agree that time under the Speedy Trial Act shall be
26   excluded from Friday July 23, 2010, up to and including Friday, October 1, 2010,
27   under Title 18 U.S.C. section 3161(h)(7)(B)(iv) and Local Code T-4, to allow for
28                                              1
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 1   adequate preparation by defense counsel, continuity of defense counsel, continuing
 2   discussions with the defendant by defense counsel in an attempt to resolve this matter
 3   short of trial, continuing discussions by the defense with the government all aiming at
 4   a good faith resolution in this case short of trial, which, should that occur, would be a
 5   cost savings to both the Court and the government.
 6         In addition, due to the fact that defense counsel is preparing for two trials in
 7   Federal Court, one scheduled in September, 2010 and one scheduled for November,
 8   2010, the time of this continuance gives a reasonably adequate amount of time, but
 9   not more than a reasonable amount of time, for defense counsel to attend to the
10   importance of this case in discharging counsel’s Sixth Amendment obligations to the
11   defendant.
12         The parties agree and stipulate that the ends of justice are served by the Court
13   excluding time under the Speedy Trial Act under local code T-4 (Title 18 U.S.C.
14   section 3161(h)(7)(B)(iv)), for reasonable time to adequately prepare and continuity
15   of counsel, from Friday, July 23, 2010, up to and including, Friday, October 1,
16   2010, to allow reasonable time for effective representation and preparation by defense
17   counsel, taking into account the exercise of reasonable diligence.
18         The parties agree and stipulate that the interests of justice are served by
19   granting this continuance outweigh the bests interests of the public and the defendant
20   in a speedy trial. (Title 18 U.S.C. section 3161(h)(7)(A))
21                                    Respectfully submitted,
22                                    BENJAMIN B. WAGNER
                                      UNITED STATES ATTORNEY
23
                                      /s/ SAMANTHA SPANGLER by e mail
24                                    authorization
     DATED: 7-21-10                   _____________________________________
25                                    SAMANTHA SPANGLER
                                      ASSISTANT UNITED STATES ATTORNEY
26                                    ATTORNEY FOR THE PLAINTIFF
27                                    /s/ JAMES R. GREINER
28                                               2
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 1   DATED: 7-21-10                   _____________________________________
                                      JAMES R. GREINER
 2                                    ATTORNEY FOR DEFENDANT ARTURO PENA
 3                                           ORDER
 4
           Based upon the representations of counsel, the record in this case, and the
 5
     agreements and stipulations between counsel in the case, and that
 6
           The parties agree and stipulate that this Court can make the appropriate
 7
     findings supported by the record in this case that time shall be excluded under local
 8
     code T-4, that time is to be excluded for the reasonable time necessary for effective
 9
     preparation by defense counsel and continuity of defense counsel and Title 18 U.S.C.
10
     section 3161(h)(7)(B)(iv), of the speedy trial act.
11
           The Status Conference currently set for Friday, July 23, 2010, is vacated, and
12
     the new Status Conference is set for Friday, October 1, 2010, with time excluded
13
     under the Speedy Trial Act from Friday, July 23, 2010, through to and including
14
     Friday, October 1, 2010, for the reasons agreed to and stipulated by the parties and
15
     as stated herein (under Local Code T-4, time to prepare).
16
17
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
18
19
20
     DATED: July 22, 2010.
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25
                                      /s/ Edward J. Garcia
26
                                      EDWARD J. GARCIA
27                                    SENIOR UNITED STATES
28                                               3
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 1                             DISTRICT COURT JUDGE
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